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                  IN THE UNITED STATES DISTRICT COURT

             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

      UNITED STATES OF                            CRIMINAL             19-
          AMERICA                                NO:

                                                 DATE FILED:

      STEPHENSHABKEY,                            VIOLATIONS:
      a/k/a Stephen Leahan,                       18 U.S.C. g 1349
                                                                (conspiracy to
      a,/k/a Michael Simmons                     commit wire fraud - 2 counts)
                                                 18 U.S.C. $ 1343     (wire fraud -   8
                                                 counts)
                                                 18 U.S.C. g 10284 (aggravated
                                                 identity theft - 1 count)
                                                 18 U.S.C. $ 1957 (money
                                                 Iaundering - 1 count)
                                                 18 U.S.C. g 2 (aiding and
                                                 abetting)
                                                 Notices of Forfeiture

                                  INDICTMENT

                                 CO UNT ONE
                      (Conspiracy to Commit Wire Fraud)

THE GRAND JURY CHABGES THAT:

             At all times material to Count One of this indictment:

             1.    Defendant STEPHEN SHARKEy purported to be a mortgage

broker who could arrange financing for real estate transactions.

             2.    Defendant STEPHEN SHARKEY used an alias of ,,Stephen

Leahan" to deceive 8.M., who was the victim of the conspiracy, as to defendant

SFIARKEY's true identity.
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              3.      Defendant STEPHEN SIIARKEY controlled a bank account at

TD Bank in the name of NJA Abstract LLC, with an account number ending in

 9568.

              4.      Defendant STEPHEN SIL{RKEY controlled a bank account at

TD Bank in the name of Core Settlement Services, with an account number ending

in 2190.

              5.      A.A. worked in the mortgage industty and was an associate of

defendant STEPHEN SHARKEY.

              6.      B.M. was a relative of A.A. and sought to purchase a property in

Freehold, New Jersey (the "Freehold Property").

                                  THE CONSPIRACY

              7.      From in or about June, 2012, through at least in or about April,

2018, in the Eastern District of Pennsylvania, the District of New Jersey, and

elsewhere, defendant

                                 STEPHENSHABKEY
and A-A. conspired and agreed together to knowingly devise a scheme and artifice to

defraud and to obtain money and property by means of false and fraudulent

pretenses, representations and promises, in violation of Title 18, United States

Code, Section 1343.

                               MANNER AND MEANS

             It was a part   of the conspiracy that:


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               8.    Defendant STEPHEN SIIARKEY and A.A. obtained money from

 B.M., who was seeking to purchase the Freehold Property, by representing to B.M.

that the funds B.M. advanced to defendant SFL{RKEY before the closing would be

used to obtain financing to assist B.M. in buying real estate, when in fact defendant

SILARKEY and A.A. intended to convert those advanced funds for their personal

use

               9.    Defendant STEPHEN SIIARKEY and A.A. made materially

false statements and omitted material facts to mislead B.M. into believing that

defendant SHARKEY was a legitimate mortgage broker and had participated as a

mortgage broker in many teal estate transactions.

               10.   Defendanr STEPHEN SHARKEY made materially false

statements and omitted material facts to induce B.M. to advance funds and mislead

B.M. into believing that defendant SILA.RKEY would use the advanced funds in

order to obtain financing on behalf of B.M. so that B.M. could purchase the Freehold

Property.

              11.    Despite representing that he would arrange financing for a

purchase ofthe Freehold Property, defendant STEPHEN SHARKEY did not

arrange financing on behalf of B.M.

              12.    Defendant STEPHEN SIIARKEY and A.A. engaged in financial

transactions to transfer or otherwise convert to their own use the funds advanced bv

B.M.


                                          J
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                13.   Defendant STEPHEN SHARKEY falsely represented to B.lU.

that he would cause the advanced funds, along with additional financing arranged

by defendant SHARKEY, to be transferred to fund the purchase of the Freehold

 Property at the time of closing, although defendant SHARKEY well knew that

before the date set for closing, defendant SHARKEY and A.A. had converted a

substantial portion of the advanced funds to their own use.

                14.   After failing to provide financing for the closing on the Freehold

Property in June 2Ol7 , defendant STEPHEN SIIARKEY and A.A. offered false

excuses to B.M. to explain why the financing had not been provided.

                15.   Defendant STEPHEN SHARKEY and A.A. also made false

statements to B.M. to explain why defendant SHARKEY and A.A. were unable to

return the advanced funds to B.M.

                16.   Defendant STEPHEN SHARKEY used telephone number 267-

368-0114 to communicate with B.M. during the course of the conspiracy.

               L7.    Defendant STEPHEN SHARKEY and A.A. misrepresented,

concealed and hid, carrsed to be rnisrepresented, concealed and hidden, and

attempted to misrepresent, conceal and hide the actions done in furtherance of the

conspiracy.

                                     OVERT ACTS

      In furtherance of the conspiracy, defendant STEPHEN SHARKEY and A.A.
committed the following overt acts in the Eastern District of Pennsylvania, and

elsewhere:
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               1.     In or about June 2017, defendant STEPHEN SILARKEY, using

 the alias "Stephen Leahan," told B.M. that defendant SHARKEY's company, NJA

 Abstract, would finance a mortgage for B.M. Defendant SHARKEY told B.M. that

 B.M. needed to wire $208,000 to NJA Abstract before the closing because, in

 handling the closing, defendant SHARKEY's company needed the money as

collateral or ieverage on a hedge fund account that would be used to finance the

deal.

               2.     After receiving the 9208,000 wire from B.M. on J:urle 27,20L7,

that same day defendant STEPHEN SHARKEY withdrew approximately g1Sb,Z94

from the NJA Abstract account ending in 9568 and converted those funds into three

official bank checks, two of which were payable to A.I. LLC, and one of which was

payable to defendant SIIARKEY.

               3.    On June 29,20lT,defendantSTEPHENSHARKEYwithdrew

$12,000 from the NJA Abstract account and converted those funds to an official

bank check payable to A.I. LLC.

               4.    I)ofondant STEPHEN SI{ARI{EY failed to provide financing for

the closing that B.M. and the seller attended on June 30,2077. As a result, B.M.

was unable to purchase the Freehold Property that day.

              5.     On or about Monday, JluJy 3,2O17, defendant SHARKEy spoke

to B.M. and offered the excuse that there was not much he could do that day

because   it was a slow day in his office due to the July Fourth holiday, but

everything would be taken care of by July5, 2017.
                                            )
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              6.       Later in JuIy 2017, A.A. made an arrangement with the seller of

 the Freehold Property to extend the closing date by a week in exchange for g1b,000.

 The seller agreed that if the sale was completed, the 915,000 would go to the

 purchase price; if   it did not, the seller would   keep the 915,000 and re-list the

 property. Pursuant to this agreement, on or about July 5,2017, a wire in the

 amount of $15,000 was sent from the NJA Abstract account ending in gb6g to the

 account of a Iaw firm representing the seller of the Freehold Property.

              7.       On or about July 20, 2017,8.M. received a wire of g18,000 into

his citibank account from the NJA Abstract account ending in gb68. Defendant

STEPHEN SIIARKEY told B.M. that there was a mistake and that the 91g,000

wire should have been sent to A.A. and a separate wire ofg208,0O0, that had been

intended for B.M.'s account, had been sent in elror to A.A.'s bank account.

              8.       On or after July 20, 2017, when B.M. contacted A.A. and asked

A.A. to wire the S208,000 to B.M.'s account, A.A. told B.M. that A.A. was in receipt

ofthe $208,000 wire, however, there would be a delay in accessing the money due to

a one-day hold on A.A.'s account. Approximately one week later, A.A. told B.M.          that
A.A. could not forward the 9208,000 to B.IVI. because the IRS had placed a g100,000

lien on his account. B.M. asked A.A. for proof that there was an IRS lien on A.A.,s

account, but A.A. never provided any proof.

             9.       In early August 2017, defendant STEPHEN SHARKEY and A.A.

met B.M. at a gas station in Staten Island, New York. During the meeting in Staten

Island, defendant SHARKEY gave B.M. three checks, one for g20,000 dated August
                                              6
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Srd, one for $50,000 dated August 4th, and one for $105,000 dated August 10th. The

checks were drawn on the Core Settlement Services TD Bank account ending in

2I9O but when B.M. attempted to deposit one of the checks,     it was returned.
            All in violation of Title   18, United States Code, Section 1349.




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                           COUNTS TWO AND THREE
                                (Wire Fraud)

 THE GRAND JURY FURTHER CHARGES THAT:

             1.     Paragraphs 1 through 6 of Count One are incorporated here.

                                  THE SCHEME

             2.     From in or about June,   2OL7   through at least in or about April,

2018, in the Eastern District of Pennsylvania, the District of New Jersey, and

elsewhere, defendant

                              STEPHEN SHARKEY

devised and intended to devise a scheme to defraud and to obtain money and

property by means of false and fraudulent pretenses, representations and promises.

                             MANNER AND MEANS

             3.    Paragraphs 8 through 17 of Count One are incorporated here.

             4.    On or about each of the dates set forth below, in the Eastern

District of Pennsylvania and elsewhere, defendant

                              STEPI{EN SHARKEY

for the purpose of executing the scheme described above, caused to be transmitted

by means of wire communication in interstate commerce the signals and




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sounds described below for each count, each transmission constituting a separate

count:

  COUNT        DATE                      DESCRIPTION
 T\wo          June 27,2017              Electronic image transmitted by TD Bank
                                         from a branch in Philadelphia to Mt.
                                         Laurel, New Jersey resulting from the
                                         withdrawal of 9155,794 ftom the NJA
                                         Abstract account ending in 9568
 Three         June 29,2017              Electronic image transmitted by TD Bank
                                         from a branch in Philadelphia to Mt.
                                         Laurel, New Jersey resulting from the
                                         withdrawal of 912,000 from the NJA
                                         Abstract account ending in 9568


            All in violation of Title 18, United States Code, Sections   LB4B, and. 2.




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                             COUNTS FOUB THROUGH SD(
                                    (Wire Fraud)


 THE GRAND JURYFURTHER CHARGES THAT:

                 At times material to Counts Four through Six of this indictment:

                  1.    The estate of J.K.'s mother owned the K. family residence in

 Philadelphia (the "Estate Property") and that residence was an asset that J.K.

intended to sell in order to close the estate and provide inheritance to J.K. and

J.K.'s sister.

                 2.     Defendant STEPHEN SHARKEY controlled a bank account at

TD Bank in the name of Core Settlement Services, with an account number ending

in 2190.

                                      THE SCHEME

                 3.     From no later than August 2017 through in or about January

2018, defendant

                                  STEPHEN SHARKEY
dewised arrd intended to devise a scheme to defratrd and to obtain rrroney and

property by means of false and fraudulent pretenses, representations and promises.

                                 MANNEB AND MEANS

                 It was part of the scheme that:

                 4.    Defendant STEPHEN SIIARKEy falsely represented to J.K.

that defendant STIARKEY would represent J.K. in connection with the sale ofthe

Estate Property, when in fact defendant SHARKEy intended to and did secretly
                                             10
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 conduct the closing for the sale of the Estate Property without informing J.K. and

 took the proceeds of the sale for his own use without informing J.K.

                5.    On or about August 30, 2017, defendant STEPHEN SHARKEY

 and J.K. met in-person at the Estate Property and signed an agreement of sale for

 the Estate Property.

                6.    In order to obtain the documents necessary to close the sale of

the Estate Property without J.K.'s knowledge, defendant STEPHEN SIIARKEY,

acting under the false pretense that he would arrange the sale for J.K., induced J.K.

to sign certain documents, including a deed of sale of the Estate Property, by

making false statements about the purpose of signing the documents, and failing to

advise J.K. that one of the documents J.K was signing was in fact a deed. Defendant

SHARKEY also hid from J.K. the fact that SHARKEY intended to use the deed that

J.K. had signed to close the sale ofthe Estate Property without J.K. present.

               7.    Onor about October 5, 20lT,defendant STEPHEN SHARKEY

and J.K. met in King of Prussia, Pennsylvania and defendant STIARKEY deceived

J,K., causing J-K. to sign a deed conweying the Estate Property to a brryer rrarned in

the deed.

               8.    On or about October 6,20L7, the closing took place in

Feasterville, Pennsylvania, without J.K.'s knowledge. At the closing, defendant

STEPHEN SHARKEY received a check written to the estate of J.K.,s deceased

mother in the amount of 922,82g.21, and two checks made payable to defendant

SFIARKEY in the amounts of g30,000 and g19,000.
                                     1l
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              9.     On or about October 23,2017, defendant STEPHEN SHARKEY

 deposited the check written to the estate of J.K.'s deceased mother in the amount of

 $22,829.21, into the TD Bank Account ending in number 2190.

              10.    On October 24,2017, at the TD Bank branch located at 26bB

South Sth Street in Philadelphia, defendant STEPHEN SHARKEY withdrew

911,000 from the TD Bank Account ending in number 21g0. A portion ofthese funds

were used to purchase a bank check payable to A.I. LLC, and a portion were

withdrawn as cash.

             11.     On October 25,2077, at the TD Bank branch located at 26bB

South 5th Street in Philadelphia, defendant STEPHEN SHARKEY withdrew

$2,4O0 from the TD Bank Account ending     in number 2190.

             12.     After obtaining the proceeds of the sale ofthe Estate property

and converting those funds to his own use, defendant STEPHEN SHARKEY

continued to communicate with J.K. about a future closing date. Defendant

SHARKEY made materially false statements and omitted material facts to mislead

J.K. into believing that defendant SHARKEY was attempting to schedule a closing

for the Estate Property, all occurring after defendant SHARKEY had attended the

actual closing and converted most ofthe proceeds to his own use.

             13.    During the execution ofthe scheme, defendant STEPHEN

SHARKEY used telephone numbers 267 -B6B-Olt4, 267-290-7998, and,267_6O2_

1401, to communicare with J.K.

            74.     Defendant STEPHEN SHARKEY misrepresented, concealed
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and hid, caused to be misrepresented, concealed and hidden, and attempted to

misrepresent, conceal and hide the actions done in furtherance ofthe scheme.

             15.   On or about each ofthe dates set forth below, in the Eastern

District of Pennsylvania and elsewhere, defendant

                              STEPHEN SHARKEY

for the purpose of executing the scheme described above, caused to be transmitted

by means of wire communication in interstate commerce the signals and sounds

described below for each count, each transmission constituting a sepalate count:


 COUNT         DATE                     DESCRIPTION
 Four          October 23,2017          Electronic image transmitted by TD Bank
                                        from a branch in Phrladelphia to Mt.
                                        Laurel, New Jersey resulting from the
                                        deposit of a check in the amount of
                                        $22,829.21into a TD Bank account ending
                                        in 2190
 Five          October 24,2017          Electronic image transmitted by TD Bank
                                        from a branch in Philadelphia to Mt.
                                        Laurel, New Jersey resulting from the
                                        withdrawal of 911,000 from a TD Bank
                                        account ending in 2190
 Six           Oetober 26, 2077         Electroraic irnage transrrritted by TD Bank
                                        from a branch in Philadelphia to Mt.
                                        Laurel, New Jersey resulting from the
                                        withdrawal of 92,400 from a TD Bank
                                        account ending in 2190


           AII in violation of Title 18, United States Code, Section 1848.




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                                      COUNT SEVEN
                            (Aggravated Identity Theft)

THE GRAND JURY FURTHER CHABGES THAT:

             1.      Paragraphs   1   through 16 ofCounts Four through Six are

incorporated here.

             2.      On or about October 6,2017, in the Eastern District of

Pennsylvania and elsewhere, defendant

                               STEPHEN SHARKEY

knowingly possessed and used, without lawful authority, the means of identification

of another person, specifically, the name of J.K., during and in relation to wire

fraud, knowing that the means of identification belonged to another actual person.

             In violation of Title 18, United States Code, Section 1028A(a)(1).




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                                    COUNT EIGHT
                          (Conspiracy to Cornrnit Wire Fraud)

 THE GRAND JURY FURTHER CHARGES THAT:

                 At all times material to Count Eight of this indictment:

                 1.    Defendant STEPHEN SIIARKEY purported to be a mortgage

 broker who could arrange financing for real estate transactions.

                 2.    Defendant STEPHEN SILARKEY used an alias of "Michael

 Simmons" to deceive J.M., who was the victim of the conspiracy, as to SIIARKEYs

true identity.

                 3.    Defendant STEPHEN SILARKEY controlled a bank account at

TD Bank in the name of Core Settlement Services, with an account number ending

in 2190.

              4.       A.A. worked in the mortgage industry and was an associate of

defendant STEPHEN SHARKE\'.

              5.      J.M. sought to purchase a residence in Scotrun, pennsylvania

(the "Scotrun Property").

                                   THE CONSPIRACY

              6.      From in or about December, 2017, through at least in or about

January, 2018, in the Eastern District of Pennsylvania, and elsewhere, defendant

                                 STEPHEN SHARKEY

and A.A., conspired and agreed together to knowingly devise a scheme and artifice

to defraud and to obtain money and property by means of false and fraudulent

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 pretenses, representations and promises, in violation of Title 18, United States

 Code, Section 1343.

                                  MANNER AND MEANS

                It was a part   of the conspiracy that:

                7.     Defendant STEPHEN SHARKEY and A.A. obtained money from

J.M., who was seeking to purchase the Scotrun Property, by representing to J.M.

that the funds J.M. advanced to defendant SHARKEY before the closing would          be

used to obtain financing to assist J.M. in buying the Scotrun Property, when in fact

defendant SHARKEY and A.A. intended to convert those advanced funds for their

personal use.

             8.       Defendant STEPHEN SHARKEY and A.A. induced J.M. to

advance funds by making materially false statements and omitting material facts to

mislead J.M. into believing that defendant SHARKEY was a legitimate mortgage

broker and had participated as a mortgage broker in many real estate transactions.

             9.       Defendant SHARKEY made materially false statements and

omitted material facts to mislead J.M. into believing that defendant SIIARI{EY

would use the advanced funds in order to obtain financing on behalf of J.M. so that

B.M. could purchase the Scotrun Property.

             10-     Defendant STEPHEN SIIARKEY falsely represented that he

would cause the advanced funds, along with additional financing arranged by

defendant SHARKEY, to be used to purchase the Scotrun Property at the time of

closing, although defendant SHARKEY well knew that before the date set for
                                     t6
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 closing, defendant SHARKEY and A.A. had converted a substantial portion ofthe

 advanced funds to their own use.

              11.   Despite representing that he would arrange financing for a

proposed real estate transaction, defendant STEPHEN SHARKEY did not arrange

frnancing on behalf of J.M.

              12.   Defendant STEPHEN SHARKEY and A.A. engaged in financial

transactions to transfer or otherwise convert the advanced funds to their own use.

              13.   After failing to provide financing for a real estate closing in

January 2018, defendant STEPHEN SHARKEY and A.A. offered false excuses to

J.M. to explain why the financing had not been provided.

              L4.   Defendant STEPHEN SIIARKEY and A.A. also made false

statements to J.M. to explain why defendant SHARKEY and A.A. were unable to

return the advanced funds to J.M.

              15.   Defendant STEPHEN SHARKEY used telephone numbers 262-

290-7988 ar.d 267 -602-1401 to communicate with J.M. during the course of the

conspiracy.

              16.   Defendant STEPHEN SHARKEY and A.A. misrepresented,

concealed and hid, caused to be misrepresented, concealed and hidden, and

attempted to misrepresent, conceal and hide the actions done in furtherance ofthe

conspiracy.

                                    O\rERTACTS
      In furtherance of the conspiracy, defendant srEpHEN SHARKEY and A.A.
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 committed the following overt acts in the Eastern District of Pennsylvania, and

 elsewhere:

              1.     In or about December 2017, when J.M. contacted A.A. seeking

 financing for a real estate transaction, A.A. referred J.M. to a "Michael Simmons"

 whom A.A. actually knew to be defendant STEPHEN SIIA.RKEY.

              2.     In or about December 2017, defendant STEPHEN SHARKEY

falsely represented to J.M. that Core Settlement Services was a title company that

could arrange the closing of J.M.'s purchase of the Scotrun Property, when in fact

defendant SIIARKEY intended to use Core Settlement Services to receive a wire

transfer from J.M. that defendant SHARKEY and A.A. would convert to their own

use.

              3.    In or about December 2017, defendant STEPHEN SIIARKEY

falsely suggested to J.M. that Core Settlement Services was an independent title

company not controlled by defendant SHARKEY.

              4.    In or about December 2017, defendant STEPHEN SHARKEY

falsely stated to J-M- that defendant SHARI{EY would obtain financing for J.M.,s

purchase of the Scotrun Property.

              5.    In or about December 2012, defendant STEpHEN SHARKEY

falsely stated to J.M. that in order to obtain financing, J.M. needed to wire transfer

$100,000 as directed by defendant SHARKEY in advance of closing.

              6.    On or about December 22,2017, after J.M. wired g100,000 to the

core settlement Services TD Bank account ending in 21g0, defendant srEpHEN
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 SHARKEY made several withdrawals that same day from the TD Bank account

ending in 2190 totaling approximately $70,892. A portion of these funds were used

to purchase a bank check payable to A.I. LLC, and a portion were withdrawn as

cash. During one of these transactions, defendant SHARKEY obtained an official

bank check payable to Stephen Sharkey in the amount of 940,000.

                7.     On or about December 22,2017, defendant STEPHEN

SHARKEY cashed the $40,000 official bank check at a check cashing business

located in Philadelphia.

               8.     When the closing did not occur as scheduled on January 11,

2018, defendant STEPHEN SHARKEY falsely told J.M. that the closing did not

occur because the    title company did not have the paperwork ready. Around this

time, defendant SHARKEY also falsely told J.M. that the closing could not occur

because defendant SHARKEY's lawyer had not completed paperwork necessary to

the closing.

               9.     In January 2018, when J.M. requested that defendant

STEPHEN SHARKEY return J.M.'s              $1OO,OOO   down payrnent, defendant SIIARKEY

falsely told J.M. that the $100,000 had been sent to another company, G.S., in order

to finance the loan for J.M.

               All in violation of Title   18, United States Code, Section 1849.




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                      COUNTS NINE THROUGH ELEVEN
                                   (Wire Fraud)

THE GRAND JURY FURTHER CHARGES THAT:

             1.     Paragraphs   I through 5 ofCount Eight are incorporated here.
                                   THE SCHEME

             2.     From in or about December 2Ol7 through at least in or about

January 2018, in the Eastern District of Pennsylvania, and elsewhere, defendant

                              STEPHEN SHARKEY

devised and intended to devise a scheme to defraud and to obtain money and

property by means of false and fraudulent pretenses, representations and promises

                             MANNER AND MEANS

             3.    Paragraphs 7 through 16 ofCount Eight are incorporated here.

             4.    On or about each of the dates set forth below, in the Eastern

District of Pennsylvania and elsewhere, defendant

                              STEPHEN SHARKEY

for the purpose of executing the scheme described above, caused to be transmitted

by means of wire communication in interstate commerce the signals and




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sounds described below for each count, each transmission constituting a separate

count:

  COUNT         DATE                      DESCRIPTION
 Nine           December 22,2017          Electronic image transmitted by TD Bank
                                          from a branch in Philadelphia to Mt.
                                          Laurel, New Jersey resulting from the
                                          withdrawal of 962,884 from the Core
                                          Settlement Services account ending in
                                          2L90
 Ten            December 22,2017          Electronic image transmitted by TD Bank
                                          from a branch in Philadelphia to Mt.
                                          Laurel, New Jersey resulting from the
                                          withdrawal of 97,008 from the Core
                                          Settlement Services account ending in
                                          2190
 Eleven         December 22,2017         Electronic image transmitted by TD Bank
                                         from a branch in Philadelphia to Mt.
                                         Laurel, New Jersey resulting from the
                                         withdrawal of 91,000 from the Core
                                         Settlement Services account ending in
                                         2L90


             All in violation of ritle 18, united states code, sections 1848, and   2.




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                                  COUNT TWELVE
                                 (Money Laundering)

THE GRAND JURYFURTHER CHARGES THAT:

              1.     Paragraphs 1 through 3 of Counts 9 through 11 of this

Indictment are incorporated here.

              2.    On or about December 22, 2017 , in the Eastern District of

Pennsylvania and elsewhere, defendant

                                STEPHEN SHARKEY

knowingly engaged in and willfully caused a monetary transaction affecting

interstate commerce in criminally derived property ofa value greater than 910,000,

that is the issuance ofan official bank check using funds in the TD Bank account of

Core Settlement Services, and such property was derived from a specilied unlawful

activity, that is, wire fraud, in violation of Title 18, United States Code, Section

1343.

            AII in violation of Title 18, United States Code, Section 19b?.




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                                 NOTICE OF FOBFEITURE

 THE GRAND JURYFURTHER CHARGES THAT:

               1.        As a result ofthe violations of Title 18, United States Code,

 Section 1343 and 1349, in Counts 1-6 and 9-11 ofthis indictment, defendant

                                    STEPHEN SHARKEY

 shall forfeit to the United States of America any pr.operty that constitutes, or is

 derived from, proceeds traceable to the commission of such offenses, including, but

 not limited to, the sum of $379,829.21

               2.        Ifany ofthe property subject to forfeiture, as a result ofany act
or omission of the defendant:

                         (a)   cannot be located upon the exercise ofdue diligence;

                         (b)   has been transferred or sold to, or deposited with, a   third
                               party;

                         (c)   has been placed beyond the jurisdiction ofthe Court;

                         (d)   has been substantially diminished in value; or

                         (o)   hes boon commingled with other property which cannot

                               be divided without difficulty;

it is the intent ofthe United states, pursuant to Title     2g, united states code,

Section 2461(c), incorporating Title 21, United states code, section g53(p), to seek

forfeiture ofany other property ofthe defendant up to the value ofthe property

subject to forfeiture.


                                              _J
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             All pursuant to Title 28, United States   Code, Section 2a67@) and Title

18, United States Code, Section 981(a)(l)(C).




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                             NOTICE OF FORFEITURE NO.2

 THE GRAND JURYFURTHER CHARGES THAT:

               1.        As a result ofthe violation of Title 18, United States Code,

 Section 1957 set forth in Count 12 ofthis indictment. defendant

                                    STEPHEN SHARKEY

shall forfeit to the United States ofAmerica any property, real or personal, involved

in such violation, and any property traceable to such property, including, but not

limited to, the sum of $40,000.

               2.        Ifany of the property subject to forfeiture, as a result ofany act

or omission of the defendant:

                         cannot be located upon the exercise of due diligence;

                         has been transferred or sold to, or deposited with, a third party;

                         has been placed beyond the jurisdiction of the Court;

                         has been substantially diminished in value; or

                         has been commingled with other property which cannot be

                               divided without difficulty;

it is the intent   of the United States, pursuant to Title 18, United States Code,

Section 982(b), incorporating Title 21, United States Code, Section gb3(p), to seek

forfeiture of any other property ofthe defendant up to the value ofthe property

subject to forfeiture.


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     AII pursuant to Title 18, United States Code, Section 982.



                                            A TRUE BILL:



                                            GBAND JURY FOBEPEBSON


                                                                       I




          M. McSWAIN
United States Attorney




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